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                  IN THE UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF NEW YORK


Edward Henry,

     Plaintiff,

v.

Thrive Global, Inc., Dillion Walker /
@dillionWalker212, Andrew Rossow,
AR Media Consulting, True Hollywood
Talk, Debbie Almontaser,
@NATEBASS13, Jani Beg /
@begjani41, @Randyluv3, @Garyatty,
@Baligubadle1, @BlownawayToo,
@sekhmet67, @mikerico77, @bobfiore,        Case No. _________________
@DCRising21, @kaleighderhosen,
@AC10021, Jasmine Geraldi /
@JasmineGeraldi, @AlpacaDeGuera,
Bob Sacamano / @Feenom22, Doyle
Lonegan / @beauflave,
@karinabenaissa1, @PopeCovidXIX,
@MonicaRivpin, @solomongrundy6,
@MpoppEileen, @bthechange1234,
@CompAnalyst, @MargaretSAHall,
@BadFoxGraphics, @itsmeCWB,
@ChafedCharlie, @quinn__paul,
@James_Andrew, Linda Walczak /
@WalczakLinda9, @ClementsIra,
@Mayeyala, @arden_messing, Les
Rose / @LesRoseSyracuse,
GlennyTrades / @Glenn Investor


     Defendants




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                              ORIGINAL COMPLAINT

       NOW COMES Edward “Ed” Henry, the Plaintiff herein, alleging and stating as

follows on information and belief:

                                      Introduction

       1. For nearly a year, Plaintiff Ed Henry has been on the receiving end of a

worldwide smear campaign. Mr. Henry was a prominent reporter and host at the Fox

News Network from 2011 until July 1, 2020, when he was publicly fired as a result of

false allegations of sexual misconduct. Shortly after he was terminated, his accuser,

former Fox News producer Jennifer Eckhart, sued him in federal court and publicly

accused him of rape and violent sexual abuse. Hundreds (maybe thousands) of random

people on Twitter and other social media took that as an invitation to smear Mr. Henry as

a sex criminal. Twitter, Facebook, Instagram, et al. have become a cesspool for such

defamation, and it’s long past time to hold some of the perpetrators accountable.

       2. Meanwhile, in the nearly twelve months since Ms. Eckhart sued Mr. Henry, her

lawsuit has begun to unravel. At an April 20, 2021 hearing, U.S. Magistrate Judge

Gabriel W. Gorenstein indicated that some of her claims could be dismissed. As one

might expect, Judge Gorenstein’s statement created panic among Ms. Eckhart and her

lawyers, especially since it suggested their attempt to extort $10 million from Mr. Henry

and Fox News was falling apart.

       3. One week later, with the encouragement of her lawyers, Ms. Eckart wrote an

“open letter” to the new general counsel at Fox News, Bernard T. Gugar. See “A Chance

for Change: My Open Letter to Fox News’ New General Counsel,” https://jennifer-


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eckhart.medium.com/a-chance-for-change-my-open-letter-to-fox-news-new-general-

counsel-77bc9d492ea5. A true and correct copy is attached as Exhibit 1. In that letter,

Ms. Eckhart openly and repeatedly impugned Mr. Henry as a rapist, and she

communicated directly with Mr. Gugar to discuss her case against Fox News. The letter

reflected the desperation of Ms. Eckhart and particularly her lawyers, Doug Wigdor and

Michael Willemin, who were willing to violate the rules of professional conduct by

encouraging their client to communicate directly with an opposing party. 1 Mr. Wigdor

and Mr. Willemin were, as usual, more adept at trying a case in the media rather than

trying it in court, but this time Fox News has shown no interest in playing their game, and

that has only added to Mr. Wigdor’s and Mr. Willemin’s panic. Mr. Henry will deal with

these matters in due course, but for now he is focusing his attention on the social media


1
  Rule 4.2(a) of the N.Y. Rules of Professional Conduct prohibits such communications: “In
representing a client, a lawyer shall not communicate or cause another to communicate about the
subject of the representation with a party the lawyer knows to be represented by another lawyer
in the matter, unless the lawyer has the prior consent of the other lawyer or is authorized to do so
by law.” According to an article in Vents Magazine, Mr. Wigdor and Mr. Willemin appear to
have promoted Ms. Eckhart’s letter and acknowledged their role in it:

       After Eckhart’s article was penned to Medium, her attorneys, Douglas Wigdor and
       Michael Willemin, who have previously represented many former Fox News employees
       who have accused the network of sexual misconduct, published their statement in their
       company press distribution email chain, stating:

       “We are hopeful that Mr. Gugar appreciates the sincerity of Ms. Eckhart’s letter and the
       trauma that she has suffered,” said Eckhart’s attorney Michael J. Willemin, Partner at
       Wigdor LLP in a recent press announcement via email. “Mr. Gugar is in a power position
       from which he can drive real change at Fox News, and we hope he takes the opportunity
       to do so. We look forward to his prompt response.”

Shawn, Harris, “Former Fox News Journalist Pens Second Open Letter, But This Time It’s to
Fox News’ New General Counsel,” April 28, 2021 Vents Magazine, https://ventsmagazine.com/
2021/04/28/former-fox-news-journalist-pens-second-open-letter-but-this-time-its-to-fox-news-
new-general-counsel/.

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cesspool.

       4. As bad as Ms. Eckhart’s letter was, it was only the latest installment in a public

smear campaign that began last year and has steadily escalated since. The weaker Ms.

Eckhart’s legal case looks, the more ruthless the smear campaign gets. As set forth

below, Ms. Eckhart and her lawyers have had a lot of help with the smear campaign. At

least one reprobate used Ms. Eckhart’s false allegations as a premise for attacking Mr.

Henry’s wife. Defendant “Dillion Walker” posted the following on January 23, 2021:




For her part, Ms. Eckhart dragged Mr. Henry’s teenage daughter into the dispute, even

though his teenage daughter obviously had nothing to do with that dispute. See Diana

Falzone and Lloyd Grove, “Ex-Fox News Anchor Ed Henry Accused of Pushing

‘Revenge Porn’ in Retaliation for Sexual-Assault Claim,” October 20, 2020 The Daily

Beast (https://www.thedailybeast.com/ex-fox-news-anchor-ed-henry-accused-of-pushing-

revenge-porn-in-retaliation-for-sexual-assault-claim).

       5. Mr. Henry has acknowledged having a consensual affair with Ms. Eckhart, and

he greatly regrets the affair, but his mistake is not a license for Ms. Eckhart nor anyone

else to smear him as a sex criminal. While the prevalence of sexual harassment at Fox

News and other companies is a legitimate concern, it is not an excuse for abandoning due



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process and presuming that anyone accused is guilty, nor is it an excuse for conducting

witch trials on social media. Mr. Henry has endured nearly twelve months of vicious,

baseless personal attacks, and enough is enough.

                                             Parties

       6. Defendant Thrive Global, Inc. is a corporation headquartered in New York

County, New York.

       7. Defendant Dillion Walker / @dillionWalker212 is a real person whose address

is currently unknown.

       8. Defendant Andrew Rossi is an attorney and media consultant who resides in

Florida. The Court has personal jurisdiction over him because he conspired with New

York residents to defame Mr. Henry, and because he aided and abetted those efforts.

       9. Defendant AR Media Consulting is a company headquartered in Austin, Texas.

The Court has personal jurisdiction over the company because its agent conspired with

New York residents to defame Mr. Henry, and because its agent aided and abetted those

efforts.

       10. Defendant True Hollywood Talk is a publication operated by Mr. Rossi. Its

headquarters are unknown, but the Court has personal jurisdiction over the company

because its agent conspired with New York residents to defame Mr. Henry, and because

its agent aided and abetted those efforts.

       11. Defendant Debbie Almontaser is a resident of New York County, New York.

       12. Defendant @NATEBASS13 is the Twitter name for a real person whose

address is unknown.


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      13. Defendant Jani Beg / begjani41 is a real person whose address is unknown.

      14. Defendant @Randyluv3 is the Twitter name for a real person whose address is

unknown.

      15. Defendant @Garyatty is the Twitter name for a real person whose address is

unknown.

      16. Defendant @Baligubadle1 is the Twitter name for a real person whose address

is unknown.

      17. Defendant @BlownawayToo is the Twitter name for a real person who resides

in the State of New York.

      18. Defendant @sekhmet67 is the Twitter name for a real person who resides in

the State of New York.

      19. Defendant @mikerico77 is the Twitter name for a real person whose address is

unknown.

      20. Defendant @bobfiore is the Twitter name for a real person who resides in the

State of New York.

      21. Defendant @DCRising21 is the Twitter name for a real person whose address

is unknown.

      22. Defendant @kaleighderhosen is the Twitter name for a real person whose

address is unknown.

      23. Defendant AC10021 is the Twitter name for a real person whose address is

unknown.

      24. Defendant Jasmine Geraldi / @JasmineGeraldi is a real person whose address


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is unknown.

      25. Defendant @AlpacaDeGuerra is the Twitter name for a real person whose

address is unknown.

      26. Defendant Bob Sacamano / @Feenom22 is a real person whose addresss is

unknown.

      27. Defendant Doyle Flanagan / @beauflave is a real person whose address is

unknown.

      28. Defendant @karinabenaissa1 is the Twitter name for a real person whose

address is unknown.

      29. Defendant @PopeCovidXIX is the Twitter name for a real person whose

address is unknown.

      30. Defendant @MonicaRivpin is the Twitter name for a real person who resides

in New York County, New York.

      31. Defendant @solomongrundy is the Twitter name for a real person whose

address is unknown.

      32. Defendant @MpoppEileen is the Twitter name for a real person who resides in

Syracuse, New York.

      33. Defendant @btheexchange124 is the Twitter name for a real person whose

address is unknown.

      34. Defendant @CompAnalyst is the Twitter name for a real person whose address

is unknown.

      35. Defendant @MargaretSAHall is the Twitter name for a real person whose


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address is unknown.

      36. Defendant @BadFoxGraphics is the Twitter name for a real person whose

address is unknown.

      37. Defendant @itsmeCWB is the Twitter name for a real person whose address is

unknown.

      38. Defendant @ChafedCharlie is the Twitter name for a real person who resides

in the State of New York.

      39. Defendant @quinn__paul is the Twitter name for a real person who resides in

the State of New York.

      40. Defendant @James_Andrew is the Twitter name for a real person who resides

somewhere in the City of New York.

      41. Defendant Linda Walczak / @WalczakLinda9 is a real person who resides in

the State of New York.

      42. Defendant @ClementsIra is the Twitter name for a real person who resides in

the State of New York.

      43. Defendant @Mayeyala is the Twitter name for a real person who resides in the

State of New York.

      44. Defendant @arden_messing is the Twitter name for a real person who resides

in the State of New York.

      45. Defendant Les Rose / @LesRoseSyracuse is a real person who resides in

Syracuse, New York.

      46. Defendant @GlennInvestor is the Twitter name for a real person who resides


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in the State of New York.

                                 Jurisdiction and Venue

        47. The Court has jurisdiction over this matter under 28 U.S. Code § 1332 because

the Plaintiff resides in Maryland and all of the other Defendants reside in other states.

        48. Venue is proper in the Southern District of New York because numerous

Defendants reside in the district and because many of the tortious acts occurred in the

district.

                                           Facts

Thrive Global

        49. On October 12, 2020, Defendant Thrive Global published the article by Ms.

Eckhart wherein she made allegations that she had been sexually assaulted. A true and

correct copy of that article is attached as Exhibit 2 and incorporated herein by reference.

Ms. Eckhart did not mention Mr. Henry by name, but for the reasons described above, any

reader of the article would know that she identified Mr. Henry as her purported rapist, e.g.,

by virtue of the fact that she mentioned filing a federal lawsuit against her “abuser.” Ms.

Eckhart had not accused anyone else of sexual assault, much less filed a federal lawsuit

against anyone else alleging sexual assault. Defendant Thrive Global published the article

maliciously and with reckless indifference to its inaccuracy.

Andrew Rossow

        50. Defendant Andrew Rossow is an attorney who is licensed in Ohio and lives in

Florida. He repeatedly used his public relations firm (Defendant AR Media Consulting),

his website (Defendant True Hollywood Talk / https://www.truehollywoodtalk.com /


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@truehollywoodla), and personal Twitter account (@RossowEsq) to aid and abet Ms.

Eckhart’s smear campaign against Mr. Henry. Mr. Rossow a novice attorney and self-

proclaimed journalist who apparently knows nothing about defamation law. At all times

relevant to this lawsuit, Mr. Rossow was acting as Ms. Eckhart’s public relations advisor

and consultant for purposes of her smear campaign. Since Eckhart was filed, Mr. Rossow

has repeatedly smeared Mr. Henry with false allegations:




The tweet was false and defamatory because Mr. Henry never “sexually assaulted” Ms.

Eckhart.




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In the foregoing tweet, anyone who knew Mr. Henry or Ms. Eckhart would know that Mr.

Rossow was implicating Mr. Henry in “sexual abuse” of Ms. Eckhart.




Mr. Henry was not and is not Ms. Eckhart’s “abuser,” nor did he attempt to silence Ms.

Eckhart. Mr. Rossow endorsed and republished the false allegation.



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In context, the foregoing Tweet was referring to Ms. Eckhart’s claims against Mr. Henry.

The allegation was false and defamatory because Mr. Henry is not a sexual predator.




In the foregoing Tweet, Mr. Rossow republished the false allegation that Mr. Henry was

the sexual “abuser” of Ms. Eckhart, and that allegation was false and defamatory.

      51. On October 12, 2020, Mr. Rossow used Twitter to disseminate a false and

defamatory article written by Ms. Eckhart:




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A true and correct copy of Ms. Eckhart’s October 12, 2020 article is attached as Exhibit 2

and incorporated herein by reference. Anyone familiar with Ms. Eckhart or Ms. Henry

would have known that she was accusing Mr. Henry of rape. The Plaintiff alleges that Mr.

Rossow conspired with Ms. Eckhart and aided and abetted the production and distribution

of the defamatory article.

       52. On October 23, 2020, Mr. Rossow used Defendant True Hollywood Talk to

smear Mr. Henry:




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Mr. Henry did not send threatening messages to Ms. Marroquin, and the allegation was

false and defamatory.

      53. In another obsequious tweet sent on April 27, 2021, Mr. Rossow distributed

another smear piece written by Ms. Eckhart:




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A true and correct copy of the letter is attached as Exhibit 1 and incorporated herein by

reference. The letter flatly and falsely accuses Mr. Henry of raping Ms. Eckhart. The

Plaintiff alleges that Mr. Rossow conspired with Ms. Eckhart and was aiding and abetting

her smear campaign by promoting the letter.

Debbie Almontaser

      54. On July 21, 2020, Debbie Almontaser / @DebbieAlmontaser tweeted an article

about Ms. Eckhart’s allegations against Mr. Henry, and she alleged that Mr. Henry was a

sexual predator:




According to the Merriam-Webster Dictionary, a sexual predator is “a person who has

committed a sexually violent offense and especially one who is likely to commit more

sexual offenses.” See https://www.merriam-webster.com/dictionary/sexual%20predator.

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Defendant Almontaser’s allegation against Mr. Henry was false and defamatory.

@NateBass13

      55. On July 20, 2021, Defendant @NATEBASS13 tweeted an article about the rape

accusations against Mr. Henry, and he alleged that Mr. Henry was a sexual predator:




The allegation was false and defamatory.

Jani Beg / @begjani41

      56. In a July 20, 2021 tweet about the lawsuit against Mr. Henry, Defendant Jani

Beg / @begjani41 described Mr. Henry as a “sexual predator”:




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The allegation was false and defamatory.

@Randyluv3

      57. In a July 1, 2020 tweet about Mr. Henry’s termination from Fox News,

Defendant @Randyluv3 described Mr. Henry as a “sexual predator”:




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The allegation was false and defamatory.

@Garyatty

      58. In a July 1, 2020 Tweet regarding Mr. Henry’s termination from Fox News,

Defendant @Garyatty alleged that Mr. Henry was a “sexual predator”:




The allegation was false and defamatory.

@Baligubadle1

      59. In a July 1, 2020 tweet about Mr. Henry’s termination from Fox News,

Defendant @Baligubadle1 alleged that Mr. Henry was a sexual predator:




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The allegation was false and defamatory. On July 20, 2020, Defendant Baligubadle1

alleged that Mr. Henry was a rapist:




The allegation was false and defamatory, and it was retweeted / republished by

Defendants @BlownawayToo and @sekhmet67, among others.

@mikerico77

       60. In a July 21, 2020 tweet, Defendant @mikerico77 alleged that Mr. Henry was

a rapist:




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The allegation was false and defamatory.

@bobfiore

      61. In a tweet about Mr. Henry’s termination on July 1, 2020, Defendant

@bobfiore alleged that Mr. Henry was a “sexual predator”:




The allegation was false and defamatory.

@DCRising21

      62. In a November 21, 2020 tweet, Defendant @DCRising21 alleged that Mr.

Henry was a “violent rapist”:




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Defendant @DCRising21 alleged that Mr. Henry a “violent rapist” again on December 1,

2020.




The allegations were false and defamatory.

@kaleighderhosen

        63. In an October 21, 2020 Twitter reply to someone defending Mr. Henry,

Defendant @kaleighderhosen accused Mr. Henry of being a rapist.




A day later, in the same comment string on Twitter, she again alleged that Mr. Henry was

a rapist:




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In a November 9, 2020 tweet, Defendant @kaleighderhosen again accused Mr. Henry of

rape:




The same day, she again accused Mr. Henry of rape:




The allegations were false and defamatory.

@AC10021

        64. On March 2, 2021, Defendant @AC100201 sent a tweet that accused Mr. Henry

of being a “sexual assailant”:




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The allegation was false and defamatory.

Jasmine Geraldi

      65. Defendant Jasmine Geraldi / @JasmineGeraldi sent the following tweets about

Mr. Henry in March of 2021:




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The tweets allege that Fox News and Mr. Henry paid large settlements because of

purported sexual misconduct by Mr. Henry, and that Mr. Henry sexually harassed his

colleagues. The allegations were false and defamatory, and they portrayed Mr. Henry in a

false light.

@AlpacaDeGuera

       66. In a tweet sent on March 2, 2021, Defendant @AlpacaDeGuera accused Mr.

Henry of raping Ms. Eckhart:




The allegation was false and defamatory.

Bob Sacamano

       67. In a January 7, 2021 tweet, Defendant Bob Sacamano / @Feenom22 alleged



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that Mr. Henry was a “sexual assaulter”:




The allegation was false and defamatory.

Doyle Lonegan

       68. In an October 20, 2021 tweet, Doyle Lonegan / @beaufleuve accused Mr.

Henry of being a “rapist” and “sexual predator”:




The allegation was false and defamatory.

@karinabenaissa1

       69. In a July 21, 2020 reply to a tweet, Defendant @karinabenaissa1 accused Mr.

Henry of being a rapist:




The allegation was false and defamatory.



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@PopeCovidXIX

      70. In a July 21, 2020 tweet linked to a news story about Ms. Eckhart’s rape

allegations, Defendant @PopeCovidXIX accused Mr. Henry of being a rapist:




The allegation was false and defamatory, and it was retweeted by Defendant

@MonicaRivpin, among others.




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@solomongrundy6

       71. In a July 21, 2021 Twitter reply to Sean Hannity, Defendant

@solomongrundy6 accused Mr. Henry of being a rapist:




The allegation was false and defamatory, and it was retweeted by @MpoppEileen.

@bthechange1234

       72. In a July 20, 2020 Twitter reply, Defendant @bthechange1234 accused Mr.

Henry of being a rapist:




The allegation was false and defamatory.


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@CompAnalyst

       73. In a July 20, 2021 tweet, Defendant @ComplyAnalyst accused Mr. Henry of

being a “violent rapist”:




The allegation was false and defamatory.

MargaretSAHall

       74. In a July 20, 2020 tweet, Defendant @MargaretSAHall1 accused Mr. Henry of

being a rapist:




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The allegation was false and defamatory.

@BadFoxGraphics

       75. On January 6, 2020, Defendant @BadFoxGraphics accused Mr. Henry of

being a rapist:




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The allegation was false and defamatory.

@itsmeCWB

       76. In two tweets on July 20, 2020, Defendant @itsmeCWB alleged that Mr. Henry

was a rapist:




The allegations were false and defamatory.



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@TeaPainUSA

      77. In an April 1, 2021 tweet, @TeaPainUSA accused Mr. Henry of being a “sex

offender”:




According to the Merriam-Webster Dictionary, a sex offender “a person who has been

convicted of a crime involving sex.” See https://www.merriam-webster.com/dictionary/

sex%20offender. The allegation against Mr. Henry was false and defamatory, and it was

retweeted / republished by Defendants @ChafedCharlie, @quinn__paul,

@James_Andrew, Linda Walczak / @WalczakLinda9, @ClementsIra, @Mayeyala, and

@arden_messing.

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Les Rose

       78. In an October 12, 2020 retweet, Defendant Les Rose / @LesRoseSyracuse

republished Ms. Eckhart’s October 12, 2020 defamatory article, describing her as “a victim

of sexual assault”:




Anyone who knows Mr. Henry would know that Mr. Rose was accusing Mr. Henry of

sexually assaulting Ms. Eckhart. The allegation was false and defamatory, and it portrayed

Mr. Henry in a false light.

Dillion Walker

       79. As noted above, Defendant Dillion Walker / @dillonWalker212 falsely alleged

that Mr. Henry was a rapist:




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A few months earlier, Mr. Henry’s wife had tweeted out an article about the selection of

Kamala Harris as the Democratic nominee for vice president, and Mr. Walker replied as

follows:




Mr. Walker’s allegations of rape were false and defamatory.

GlennyTrades / @GlennInvestor

      80. On September 24, 2020, Defendant GlennyTrades / @GlennInvestor accused

Mr. Henry of being a rapist:




The allegation was false and defamatory.

                                           Claims

      81. All previous paragraphs are incorporated by reference.

      82. The Plaintiff brings defamation and defamation per se claims against all



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Defendants under Maryland law. Alternatively, the Plaintiff brings defamation and

defamation per se claims against all Defendants under New York law. All of the

Defendants defamed the Plaintiff directly, conspired with others to defame the Plaintiff,

or aided and abetted the efforts of others to defame the Plaintiff.

       83. The Plaintiff brings claims against all Defendants for false light invasion of

privacy under Maryland law. All of the Defendants portrayed the Plaintiff in a false light,

conspired with others to portray him in a false light, or aided and abetted the efforts of

others to portray him in a false light.




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                                   Request for Relief

      Mr. Henry seeks actual damages and punitive damages for the foregoing claims, as

well as any costs, fees, reimbursements or other relief that may be awarded by the Court.

      THE PLAINTIFF DEMANDS A JURY TRIAL.

                                              Respectfully submitted,

                                              /s/ Ty Clevenger
                                              Ty Clevenger (pro hac vice)
                                              Texas Bar No. 24034380
                                              P.O. Box 20753
                                              Brooklyn, New York 11202-0753
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                                              COUNSEL FOR PLAINTIFF
                                              EDWARD HENRY




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